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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ORACLE CORPORATION,                                  Civil Action No. 1:18-cv-03440-GHW

                               Plaintiff,

   - vs.-
                                                        CERTIFICATION OF SERVICE
CHARTIS SPECIALTY INSURANCE
COMPANY,

                               Defendant.




          I hereby certify that on August 16, 2018, true copies of the (i) Declaration of

Deborah Hirschorn dated August 9, 2018 (with Exhibit 1 attached thereto), and (ii)

Defendant’s Memorandum of Law in Opposition to Plaintiff’s Motion for Partial Judgment

on the Pleadings, dated August 16, 2018, were served, pursuant to the Federal Rules of

Civil Procedure, the Southern District of New York’s Local Rules and/or the Southern

District of New York’s Electronic Case Filing Rules & Instructions via ECF filing to all

counsel of record.



Date: August 16, 2018                               _ /s/ Charles W. Stotter
                                                        Charles W. Stotter




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